Case: 1:16-cv-05164 Document #: 1 Filed: 05/12/16 Page 1 of 7 PageID #:1
Case: 1:16-cv-05164 Document #: 1 Filed: 05/12/16 Page 2 of 7 PageID #:2
Case: 1:16-cv-05164 Document #: 1 Filed: 05/12/16 Page 3 of 7 PageID #:3
Case: 1:16-cv-05164 Document #: 1 Filed: 05/12/16 Page 4 of 7 PageID #:4
Case: 1:16-cv-05164 Document #: 1 Filed: 05/12/16 Page 5 of 7 PageID #:5
Case: 1:16-cv-05164 Document #: 1 Filed: 05/12/16 Page 6 of 7 PageID #:6
Case: 1:16-cv-05164 Document #: 1 Filed: 05/12/16 Page 7 of 7 PageID #:7
